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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
                                          ***


UNITED STATES OF AMERICA,

                Plaintiff,                             02:07-CR-00080-CRW

v.
                                                               ORDER
MICHAEL JENKINS,

               Defendant.

               The court will hold a hearing by telephone conference call at 8:30 a.m. (PST) on

Tuesday, January 17, 2012, to address defendant Michael Jenkins’ motion to extend by 28 days

his date for surrender and self-report to a designated prison facility. Before then government

counsel, the probation officers assigned to supervise defendant in Nevada and Tennessee, and

counsel for the defendant may file additional papers supporting or resisting the motion for

extension of time.

               Any person wishing to participate in the hearing shall use the “meet-me

conference line” of the U.S. District Court for the Southern District of Iowa by dialing 515/284-

6263 and entering this prompt: 116263.

               IT IS SO ORDERED.

               Dated this 13th day of January, 2012.
